Case 5:24-cr-50038-KES      Document 44     Filed 04/26/24   Page 1 of 1 PageID #: 100




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                               WESTERN DIVISION

 UNITED STATES OF AMERICA,
                                                     5:24-CR-50038-02-KES
          Plaintiff,
    vs.                                         ORDER ADOPTING REPORT &
                                               RECOMMENDATION AND ORDER
 DANIELLE COATS,                                 SCHEDULING SENTENCING

          Defendant.


      On April 26, 2024, defendant, Danielle Coats, appeared before Magistrate

Judge Daneta Wollmann for a change of plea hearing. Magistrate Judge Wollmann

issued a report recommending the court accept defendant’s plea of guilty to Count

V of the Indictment. Count V of Indictment charges Coats with Possession of a

Stolen Firearm in violation of 18 U.S.C. §§ 922(j) and 924(a)(2). Both parties

waived any objection to the report and recommendation.

      After a de novo review of the record, it is

      ORDERED that the report and recommendation (Docket 43) is adopted. The

defendant is adjudged guilty of Possession of a Stolen Firearm in violation of 18

U.S.C. §§ 922(j) and 924(a)(2). It is

      FURTHER ORDERED that the sentencing hearing in this matter will be on

July 26, 2024, at 2:00 p.m. in Rapid City, Courtroom 2.

      Dated April 26, 2024.

                                        BY THE COURT:

                                        /s/ Karen E. Schreier
                                        KAREN E. SCHREIER
                                        UNITED STATES DISTRICT JUDGE
